 Case 22-10183-elf         Doc 51      Filed 02/02/23 Entered 02/02/23 17:13:18               Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Angela Cephas
                                 Debtor(s)                                       CHAPTER 13

Wells Fargo Bank, National Association, successor by
merger to Wells Fargo Bank, Minnesota, National
Association, as Trustee for Reperforming Loan REMIC
Trust Certificates Series 2002-2                                              NO. 22-10183 ELF
                                 Movant
                 vs.

Angela Cephas
                                 Debtor(s)
Marvin T. Bey                                                                11 U.S.C. Section 362
                                 Co- Debtor


Kenneth E. West
                                 Trustee

   MOTION OF Wells Fargo Bank, National Association, successor by merger to Wells Fargo
   Bank, Minnesota, National Association, as Trustee for Reperforming Loan REMIC Trust
                                 Certificates Series 2002-2
                     FOR RELIEF FROM THE AUTOMATIC STAY
                                  UNDER SECTION 362

           1.     Movant is Wells Fargo Bank, National Association, successor by merger to Wells Fargo

 Bank, Minnesota, National Association, as Trustee for Reperforming Loan REMIC Trust Certificates Series

 2002-2.

           2.     Debtor(s) is/are the owner(s) of the premises 1854 South Ringgold Street, Philadelphia, PA

 19145, hereinafter referred to as the mortgaged premises.

           3.     Movant is the holder of a mortgage, original principal amount of $30,000.00 on the

 mortgaged premises that was executed by Debtor and Co-Debtor as co-mortgagors on July 28, 1998. The

 mortgage has been assigned as follows:

 Assigned to Wells Fargo Bank, National Association, successor by merger to Wells Fargo Bank, Minnesota,

 National Association, as Trustee for Reperforming Loan REMIC Trust Certificates Series 2002-2 on April

 23, 2012, Recorded May 1, 2012, Document ID. 52478204.

           4.     Kenneth E. West, is the Trustee appointed by the Court.
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        5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

Bankruptcy by the Debtor(s).

        6.       Co-Debtor, Marvin T. Bey, who has not filed for Bankruptcy in this case, is liable on the

mortgage loan secured by the aforesaid mortgage together with the Debtor.

        6.       Debtor(s) has/have failed to make the monthly post-petition mortgage payments in the

amount of $404.29 for the months of September 2022 through January 20203 plus late charges if applicable.

        7.       In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees and

legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

with applicable loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.

        8.       The total amount necessary to reinstate the loan post-petition is $2,021.45.

        9.    Movant is entitled to relief from stay for cause.

        10.      This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                         /s/ Denis Carlon
                                                         Denise Carlon, Esquire
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